 

Case 19-16817

Fill in this information to identify your case:

NEBRA

First Name

OVERRETTA

Middle Name

Debtor 1

Debtor 2

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SINGLETON

Last Name

 

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(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: District of Maryland
Case number 19 - 16817

(If known)

Last Name

 

[=] U.S. BANKRUPTCY Coun
11 Check if this is an
amended filing

 

 

Official Form 108

 

Statement of Intention for Individuals Filing Under Chapter 7 sins

 

If you are an individual filing under chapter 7, you must fill out this form if:

—@ creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional Pages,

write your name and case number (if known).

eee us Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

Identify the creditor and the property that is collateral

What do you intend to do with the property that
secures a debt?

Did you claim the property
as exempt on Schedule C?

 

 

 

 

 

 

 

wreditors WAR COOPER (NATIONSTAR) Md Surrender the property. No
Q) Retain the property and redeem it. C) Yes
Description of CURRENT/PRIMARY LENDER FOR Qi Retain the property and enter into a
property HOME LOAN(80%). FORECLOSURE Reaffirmation Agreement
Securing debt: Sal E DATE: 21 MAY 2019 7
Q) Retain the property and [explain]:
Creditor’ a
name. SPECIALIZED LOAN SERVICING Md Surrender the property. td No
C) Retain the property and redeem it. CL) Yes
Description of CURRENT/PRIMARY LENDER FOR C2 Retain the property and enter into a
properly ___HOME LOAN (20%). FORECLOSURE Reatfirmation Agreement
securing debt: Sal E DATE: 21 MAY 2019 O retay .
Retain the property and [explain]:
Creditor’ Z
name: WESTLAKE FINANICAL SERVICES id Surrender the property No
010 INFINITY axs6 C) Retain the property and redeem it. QD) Yes
Description of 2 | 5 . .
properly __APPROX.: OVER 200K MILEAGE O Relain the propery and enter into
Securing debt: TRANSMISSION ISSUE 0 retai .
Retain the property and [explain]:
wreditor's L} Surrender the property. LI No
name:
Q) Retain the property and redeem it. QC) Yes

Description of
property
securing debt:

Official Form 108

Statement of Intention for Individuals Filina Under Chapter 7

() Retain the Property and enter into a
Reaffirmation Agreement.

Q) Retain the property and [explain]:

 

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rarer

 

 
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Debtor 1 NEBRA OVERRETTA SINGLETON Case number (if known) 19 * 16817

First Name Middie Name Last Name

Era List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: NON APPLICABLE EN
a (J Yes

Description of leased

property:

Lessor’s name: QI No
() Yes

Description of leased

property:

Lessor’s name: UL) No

Description of leased C) Yes

property:

Lessor’s name: LI No
() Yes

Description of leased

property:

Lessor’s name: QO No
LY Yes

Description of leased

property:

Lessor’s name: QO) No
U) Yes

Description of leased

property:

Lessor’s name: LI No
QO Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any

personal property that is subject to an unexpired lease.
Ph an 6 rvsllths, x
{ O

 

 

pe
Signature of Debtor 1 Signature of Debtor 2

‘Date| Ve i 03 [AO l 9 Date

MM / MM/ DD/ YYYY

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